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                            Exhibit 18
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                               Warner Music International Services
                                           Limited

                                       Company Registration Number: 02258593



                              Annual Report and Financial Statements

                                                30 September 2022




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          Directors
          P Robinson
          S Rishi
          R Lougee (appointed 11 March 2022)
          C Saxe (appointed 30 September 2022)

          Secretary

          Olswang Cosec Limited
         •Cannon Place
          78 Cannon Street
          London
          EC4N 6AF

          Auditor

          KPMG
          I Stokes Place
          St Stephen's Green
          Dublin 2
          Ireland

          Registered Office

          Cannon Place
          78 Cannon Street
          London
          EC4N 6AF
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                                                                                          Warner Music International Services limited
                                                                                               Annual report and financial statements
                                                                                                                   30 September 2022


         Strategic Report
         The Directors present their report and financial statements for the year ended 30 September 2022.

         Principal activity and review of business
         The Company has two main functions. The first is the provision of services to most of its recorded music worldwide
         affiliates. These services are provided pursuant to agreements with the worldwide affiliates and include the provision
         of marketing, promotion and related activity in respect of current releases, strategic advice in respect of catalogue
         repertoire together with general financial and accounting services, royalty processing services, information technology,
         human resources and legal services. The second, established in October 2018, is to act as a central licensing hub for
         WMG catalogue, having been assigned all ex-US WMG Digital Service Provider (DSP) contracts.

         The company's key financial and other performance indicators during the year were as follows:
                                                                          2022              2021       Change %
                                                                                  $m                $m

         Turnover                                                             1,521.7            1,361.3             11.8
         Gross profit                                                           535.5              493.5              8.5
         Shareholders' funds                                                    195.0              185.1              5.3

         Turnover has increased by 11.8% as a result of new deals and renegotiation of current deals. The gross profit has
         increased by 8.5% as a result of increase in turnover partially offset by an increase in cost of sales. Shareholders' funds
         increased by 5.3%, at a lower rate than gross profit, as a dividend of $6.7m was declared and paid in March 2022.

         Principal risks and uncertainties
         The main risks and uncertainties facing the company relate to maintaining and developing relationships with new and
         existing digital services providers and the strength of the global release schedule. Other principal risks and uncertainties
         include:

                Credit risk             The possibility that customers may be unable to settle amounts due. The directors do
                                        not consider the potential downside significant given the quality of internal credit
                                        controls and consistent monitoring performed by Treasury.

                Market risk             The possibility of general market decline caused by changes in consumer habits. The
                                        directors do consider the potential downside significant given the current upwards
                                        trend in music consumption.

                Exchange rate risk      The possibility of unfavourable exchange rate fluctuations. The directors do not
                                        consider the potential downside significant given the consistent monitoring performed
                                        by Treasury who agree favourable rates wit.h external facilities.

                Interest rate risk      The company does not have any significant external borrowings and as such the
                                        directors consider the interest rate risk to be minimal.


         Section 172 Statement
         The Directors define the successful running of the Company as supporting the group in achieving its wider long-term
         strategy. The group's long-term strategy is to be a sustainable profitable business, maintaining its reputation as the
         home to an unparalleled family of creative artists and songwriters. The success of the Company and group is dependent
         on positive and effective dealings with all stakeholders and so the Directors were mindful of the long-term
         consequences of key commercial decisions made during the year and determined that these were in the interests of the
         group's employees, suppliers, customers and other stakeholders, as they were all aligned to the group's growth strategy.
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                                                                                          Annual Report and Financial Statements
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         Strategic Report (continued)

         Section 172 Statement (continued)
         The Company's and group's success depends on the company's reputation with customers and other stakeholders being
         maintained, and so any impact on the community and environment of commercial decisions is considered carefully.
         The company regularly engages with stakeholders to maintain these important relationships

         The key decisions taken during the year related to the signing of new deals and renewals of expiring deals with Digital
         Service Providers.                                                                 •

         The Company maintains and encourages open .dialogue with its employees and runs events and initiatives on a wide
         range of topics throughout the year to promote a safe and comfortable working environment.

         The Directors confirm that throughout the year they have acted, in good faith, in a way that they consider to be most
         likely to promote the success of the Company and the group for the benefit of its members as a whole.


         On behalfofthe board
          r-:OocuSigned by:



          L~~~~
           n.ul',:n 1..,uug,:,:                                                                                   Cannon Place
                                                                                                               78 Cannon Street
          Director28 June 2023
          Date                                                                                                         London
                                                                                                                    EC4N 6AF




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                                                                                        Company Registration Number: 02258593
                                                                                         Annual Report and Financial Statements
                                                                                                             30 September 2022

         Directors' Report

         The Directors present their report and financial statements for the year ended 30 September 2022.

         Results and dividends
         The profit for the year after taxation amounted to $16.Sm (2021 - profit of $13.1 m). The directors paid a dividend of
         $6. 7m in 2022 (2021 - $23m).

         Research and Development
         There were no Research and Development costs incurred during the financial year. The company continues to invest
         in keeping the IT systems and infrastructure up to date whilst striving to streamline operations.

         Financial Instruments
         Tlie significant Financial Instruments within the company are Trade Debtors and Investments which are measured in
         line with the company's accounting policies. There are no significant impairments on the Financial Instruments within
         these Financial Statements.

         Directors
         The directors who served the company during the year were as follows:

         R Lougee (appointed 11 March 2022)
         J Radice (resigned 30 September 2022)
         S Rishi
         P Robinson
         C Saxe (appointed 30 September 2022)

         Employees
         The Directors recognise the importance of maintaining a Diverse and Inclusive workplace and work alongside the in-
         house Diversity, Equality and Inclusion (DE&!) team to ensure a safe and friendly environment within the Company.
         Throughout the year the company performs anonymous surveys to gauge employee's views on key topics including
         Diversity and Inclusion, Employee Wellbeing and Flexibly Working to support decision making. The Company also
         supports Employee Resource Groups which include: The Link (our people of colour network), Women of Warner,
         Women in Tech, Parents and Carers, People of Pride (LGBT+ network), and The Green Team (Environmental).

         Employees are required to comply with our internal Code of Conduct and complete specific training modules designed
         to meet the requirements of their roles along with access to many optional learning modules. Covid-19 has impacted
         everyone, including our employees, many of whom have been working from home in line with government
         requirements. As a result, the Company shared specific wellbeing tool kits to ensure employees were supported in
         working from home, alongside the provision of office equipment for home use.

         Engagement with suppliers, customers, and others in a business relationship with the Company
         The Company maintains strong relationships with customers and suppliers locally and overseas through ongoing
         communication and engagement. Due Diligence measures are taken when engaging new customers and suppliers to
         ensure compliance with our anti-corruptions and anti-bribery p9licies. The Company endeavours to pay suppliers in a
         timely manner in line with internal policies and specific contract terms and conditions.

         Political Contributions
         The Company made no political donations or incurred any political expenditure during the year.

         Statement of corporate governance arrangements
         The Company has engaged external consultants to build and develop on the Corporate Governance framework with
         actions taken as a result, such as further training to employees on Anti-bribery and Anti-corruption.




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                                                                                                               30 September 2022

         Directors' Report (continued)
         Emissions and energy consumption·
         In accordance with disclosure requirements for large companies under the Companies Act 2006, the table below shows
         the Company's greenhouse gas emissions during the financial year.
         The methodology used to calculate our emissions is in line with UK Government Streamlined Energy and Carbon
         Reporting ("SECR") guidelines.
                                                                                                               2022    2021
                                                                                                              tCO2e   tCO2e
           Combustion of fuel and operation of facilities (Scope 1)                                             85.57  137.53
           Electricity, heat, steam and cooling (Scope 2)                                                      159.11   206.3
           Other indirect emissions relating to electricity transmission and distribution losses, Air travel
           and non-company cars (Scope 3)
                     Air travel                                                                              1,109.14   67.94
                     Non-company cars                                                                            2.18   20.51
           Total                                                                                             1,431.19  432.27
                    tCO2e per employee                                                                           4.90     1.81

         Going concern
         The financial statements have been prepared on a going concern basis which the Directors consider to be appropriate
         given the following considerations.
         Directors considered the operating nature of the entity, including the trading arrangements with affiliated entities and
         expectations for the future trading along with the outstanding inter-company payables and inter-company receivables
         for a period of 12 months from the date of approval of these financial statements which indicate that, taking account of
         reasonably possible downsides, the company will have sufficient funds through funding from its ultimate parent Warner
         Music Group Corp and repayment of outstanding balances from fellow subsidiaries to meet its liabilities as they fall
         due for that period.
         Those forecasts are dependent on Warner Music Group Corp. not seeking repayment of the amounts currently due to
         the group, at the date of the approval of these financial statements, providing additional financial support during that
         period, and continuing the existing, contracted trading arrangements across the Group. Warner Music Group Corp. has
         indicated its intention to continue to make available such funds as are needed by the company, and that it does not
         intend to seek repayment of the amounts due at the balance sheet date, for the period covered by the forecasts. The
         directors also have no reason to believe that trading arrangements with affiliated entities will materially change in the
         foreseeable future. As with any company placing reliance on other group entities for financial support, the Directors
         acknowledge that there can be no certainty that this support will continue although, at the date of approval of these
         financial statements, they have no reason to believe that it will not do so.
         Consequently, the Directors are confident that the company will have sufficient funds to continue to meet its liabilities
         as they fall due for at least 12 months from the date of approval of the financial statements and therefore have prepared
         the financial statements on a going concern basis.

         Disclosure of information to the auditor
         So far as each person who was a Director at the date of approving this report is aware, there is no relevant audit
         information, being information needed by the auditor in connection with preparing its report, of which the auditor is
         unaware. Having made enquiries of fellow directors and the company's auditor, each Director has taken all the steps
         that they are obliged to take as a Director in order to make themselves aware of any relevant audit information and to
         establish that the auditor is aware of that information.
         Auditor
         Pursuant to Section 487 of the Companies Act 2006, the auditor will be deemed to be reappointed and KPMG,
         Chartered Accountants will therefore continue in office.
         On behalfofthe board
          r:DocuSlgned by:



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          ._.,....,..., ...... a...,v1.1e, ... ..,
                                                                                                                  Cannon Place
                                                                                                               78 Cannon Street
          Director                                                                                           London, EC4N 6AF
          Date: 28 June 2023



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                                                                                          Company Registration Number: 02258593
                                                                                           Annual Report and Financial Statements
                                                                                                               30 September 2022

         Statement of directors' responsibilities in respect of the Strategic Report, the
         Directors' Report and the financial statements

         The Directors are responsible for preparing the Strategic Report, the Directors' Report and the financial statements in
         accordance with applicable law and regulations.
         Company law requires the directors to prepare financial statements for each financial year. Under that law they have
         elected to prepare the financial state.ments in accordance with UK accounting standards and applicable law (UK
         Generally Accepted Accounting Practice), including FRS 102 The Financial Reporting Standard applicable in the UK
         and Republic ofIreland.
         Under company law the Directors must not approve the financial statements unless they are satisfied that they give a
         true and fair view of the state of affairs of the company and of the profit or loss of the company for that period. l n
         preparing these financial statements, the directors are required to:
         •   select suitable accounting policies and then apply them consistently;
         •   make judgements and estimates that are reasonable and prudent;
         •   state whether applicable UK accounting standards have been followed, subject to any material departures disclosed
             and explained in the financial statements;
         •   assess the Company's ability to continue as a going concern, disclosing, as applicable, matters related to going
             concern; and
         •   use the going concern basis of accounting unless they either intend to liquidate the Company or to cease operations,
             or have no realistic alternative but to do so.
         The Directors are responsible for keeping adequate accounting records that are sufficient to show and explain the
         Company's transactions and disclose with reasonable accuracy at any time the financial position of the Company and
         enable them to ensure that the financial statements comply with the Companies Act 2006. They are responsible for
         such internal control as they determine is necessary to enable the preparation of financial statements that are free from
         material misstatement, whether due to fraud or error, and have general responsibility for taking such steps as are
         reasonably open to them to safeguard the assets of the Company and to prevent and detect fraud and other irregularities.




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                                     KPMG
                                     Audit
                                     1 Stokes Place
                                     St. Stephen's Green
                                     Dublin 2
                                     D02 DE03
                                     Ireland




       Independent auditor's report to the members of Warner Music International
       Services Limited
       Report on the audit of the financial statements

       Opinion

       We have audited the financial statements of Warner Music International Services Limited ('the company')
       for the year ended 30 September 2022 set out on pages 10 to 24, which comprise the profit and loss
       account, the balance sheet, the statement of changes in equity and related notes, including the summary
       of significant accounting policies set out in note 1. The financial reporting framework that has been applied
       in their preparation is UK Law and FRS 102 The Financial Reporting Standard applicable in the UK and
       Republic of Ireland

       In our opinion:

           •   the financial statements give a true and fair view of the state of the Company's affairs as at 30
               September 2022 and of its profit for the year then ended;
           •   the financial statements have been properly prepared in accordance with FRS 102 The Financial
               Reporting Standard applicable in the UK and Republic of Ireland; and
           •   the financial statements have been prepared in accordance with the requirements of the
               Companies Act 2006.

       Basis for opinion

       We conducted our audit in accordance with International Standards on Auditing (UK) (ISAs (UK)) and
       applicable law. Our responsibilities under those standards are further described in the Auditor's
       responsibilities for the audit of the financial statements section of our report. We are independent of the
       company in accordance with ethical requirements that are relevant to our audit of financial statements in
       the UK, including the Financial Reporting Council (FRC)'s Ethical Standard, and we have fulfilled our
       other ethical responsibilities in accordance with these requirements.

       We believe that the audit evidence we have qbtained is sufficient and appropriate to provide a basis for
       our opinion.

       Conclusions relating to going concern

       The directors have prepared the financial statements on the going concern basis as they do not intend to
       liquidate the Company or to cease its operations, and as they have concluded that the Company's
       financial position means that this is realistic. They have also concluded that there are no material
       uncertainties that could have cast significant doubt over its ability to continue as a going concern for at
       least a year from the date of approval of the financial statements ("the going concern period").

       In our evaluation of the directors' conclusions, we considered the inherent risks to the Company's
       business model and analysed how those risks might affect the Company's financial resources or ability to
       continue operations over the going _concern period.

       Based on the work we have performed, we have not identified any material uncertainties relating to events
       or conditions that, individually or collectively, may cast significant doubt on the Company's ability to
       continue as a going concern for a period of at least twelve months from the date when the financial
       statements are authorised for issue.


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                                         t<PMG, an Irish oarmershio &nd s member firm of the KPMC global
                                         organisatio."' ot independent mel"l"lber !irms affiliated with KPMG
                                         lnterr.ationar Urr.ited. a priv.Jte English company limited by guarantee.
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       Independent auditor's report to the members of Warner Music International
       Services Limited (continued)
       Report on the audit of the financial statements (continued)

       Conclusions relating to going concern (continued)

       Our responsibilities and the responsibilities of the directors with respect to going concern are
       described in the relevant sections of this report.

       However, as we cannot predict all future events or conditions and as subsequent events may result in
       outcomes that are inconsistent with judgements that were reasonable at the time they were made, the
       absence of reference to a material uncertainty in this auditor's report is not a guarantee that the
       Company will continue in operation.

       Detecting irregularities including fraud

       We identified the areas of laws and regulations that could reasonably be expected to have a material
       effect on the financial statements and risks of material misstatement due to fraud, using our
       understanding of the entity's industry, regulatory environment and other external factors and inquiry
       with the directors. In addition, our risk assessment procedures included: inquiring with the directors as
       to the Company's policies and procedures regarding compliance with laws and regulations and
       prevention and detection of fraud; inquiring whether the directors have knowledge of any actual or
       suspected non-compliance with laws or regulations or alleged fraud; inspecting the Company's
       regulatory and legal correspondence; and reading Board minutes.

       We discussed identified laws and regulations, fraud risk factors and the need to remain alert among
       the audit team.

       The Company is subject to laws and regulations that directly affect the financial statements including
       companies and financial reporting legislation. We assessed the extent of compliance with these laws
       and regulations as part of our procedures on the related financial statement items, including
       assessing the financial statement disclosures and agreeing them to supporting documentation when
       necessary.

       We assessed events or conditions that could indicate an incentive or pressure to commit fraud or
       provide an opportunity to commit fraud. As required by auditing standards, we performed procedures
       to address the risk of management override of controls. On this audit we do not believe there is a
       fraud risk related to revenue recognition. We did not identify any additional fraud risks

       In response to risk of fraud, we also performed procedures including: identifying journal entries to test
       based on risk criteria and comparing the identified entries to supporting documentation; evaluating the
       business purpose of significant unusual transactions; assessing significant accounting estimates for
       bias; and assessing the disclosures in the financial statements.

       Owing to the inherent limitations of an audit, there is an unavoidable risk that we may not have
       detected some material misstatements in the financial statements, even though we have properly
       planned and performed our audit in accordance with auditing standards. For example, the further
       removed non-compliance with laws and regulations (irregularities) is from the events and transactions
       reflected in the financial statements, the less likely the inherently limited procedures required by
       auditing standards would identify it.

       In addition, as with any audit, there remains a higher risk of non-detection of irregularities, as these
       may involve collusion, forgery, intentional omissions, misrepresentations, or the override of internal
       controls. We are not responsible for preventing non-compliance and cannot be expected to detect
       non-compliance with all laws and regulations.




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       Independent auditor's report to the members of Warner Music International
       Services Limited (continued)
       Report on the audit of the financial statements (continued)

       Other information

       The directors are responsible for the other information presented in the Annual Report together with
       the financial statements. The other information comprises the information included in the strategic
       report and the directors' report. The financial statements and our auditor's report thereon do not
       comprise part of the other information. Our opinion on the financial statements does not cover the
       other information and, accordingly, we do not express an audit opinion or, except as explicitly stated
       below, any form of assurance conclusion thereon.

       Our responsibility is to read the other information and, in doing so, consider whether, based on our
       financial statements audit work, the information therein is materially misstated or inconsistent with the
       financial statements or our audit knowledge. Based solely on that work we have not identified material
       misstatements in the other information.

       Opinions on other matters prescribed by the Companies Act 2006

       Based solely on our work on the other information undertaken during the course of the audit:

           •   we have not identified material misstatements in the strategic report and the directors' report;
           •   in our opinion, the information given in the strategic report and directors' report is consistent
               with the financial statements;
           •   in our opinion, the strategic report and directors' report has been prepared in accordance with
               the Companies Act 2006.

       Matters on which we are required to report by exception

       Under the Companies Act 2006 we are required to report to you if, in our opinion

           •   adequate accounting records have not been kept, or returns adequate for our audit have not
               been received from branches not visited by us; or
           •   the financial statements are not in agreement with the accounting records and returns; or
           •   certain disclosures of directors' remuneration specified by law are not made; or
           •   we have not received all the information and explanations we require for our audit; or

       We have nothing to report in these respects.

       Respective responsibilities and restrictions on use

       Responsibilities of directors for the financial statements

       As explained more fully in the directors' responsibilities statement set out on page 5, the directors are
       responsible for: the preparation of the financial statements including being satisfied that they give a
       true and fair view; such internal control as they determine is necessary to enable the preparation of
       financial statements that are free from material misstatement, whether due to fraud or error;
       assessing the Company's ability to continue as a going concern, disclosing, as applicable, matters
       related to going concern; and using the going concern basis of accounting unless they either intend to
       liquidate the Company or to cease operations, or have no realistic alternative but to do so.




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       Independent auditor's report to the members of Warner Music International
       Services Limited (continued}
       Respective responsibilities and restrictions on use

       Auditor's responsibilities for the audit of the financial statements

      Our objectives are to obtain reasonable assurance about whether the financial statements as a whole
      are free from material misstatement, whether due to fraud, other irregularities or error, and to issue an
      opinion in an auditor's report. Reasonable assurance is a high level of assurance but is not a
      guarantee that an audit conducted in accordance with ISAs (UK) will always detect a material
      misstatement when it exists. Misstatements can arise from fraud, other irregularities or error and are
      considered material if, individually or in the aggregate, they could reasonably be expected to influence
      the economic decisions of users taken on the basis of these financial statements.

      A fuller description of our responsibilities is provided on the FRC's website at
      www.frc.orq.uk/auditorsresponsibilities.


       The purpose of our audit work and to whom we owe our responsibilities

      Our report is made solely to the Company's members, as a body, in accordance with Chapter 3 of
      Part 16 of the Companies Act 2006. Our audit work has been undertaken so that we might state to
      the Company's members those matters we are required to state to them in an auditor's report and for
      no other purpose. To the fullest extent permitted by law, we do not accept or assume responsibility to
      anyone other than the Company and the Company's members, as a body, for our audit work, for this
      report, or for the opinions we have formed.




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                              '.   ...   ... .      .   _   ....




      Maurice Mccann (Senior Statutory Auditor)                                          29 June 2023
      for and on behalf of
      KPMG Statutory Auditor
      1 Stokes Place
      St. Stephen's Green
      Dublin 2




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                                                                                        Company Registration Number: 02258593
                                                                                         Annual Report and Financial Statements
                                                                                                             30 September 2022




          Profit and Loss Account
          for year e11ded 30 September 2022



                                                                                 Note        2022                2021
                                                                                             $000                $000

           Turnover                                                                 2   1,521,714           1,361,343
           Cost of sales                                                                (986,261)           (867,835)


           Gross profit                                                                  535,453              493,508

           Administrative expenses                                                 3    (446,277)           (378,157)
           Distribution expenses                                                        (100,908)            (98,326)

           Operating (loss)/profit                                                       (11,732)              17,025

           Interest receivable and similar income                                   6      10,267               9,600
           Interest payable and similar expenses                                    7       (432)               (655)
           Other income/( expenses)                                                        29,153             (4,438)


           Profit before taxation                                                          27,256              21,532

           Tax                                                                     8     (10,718)             (8,389)


           Profit for the financial year                                                   16,538              13,143




          Other Comprehensive Income
          for year emled 30 September 2022

          The company had no other comprehensive income for the year ended 30 September 2022 (2021: $nil).

          The notes on pages 13 to 24 fonn part of these financial statements.




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                                                                                       Company Registration Number: 02258593
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                                                                                                            30 September 2022




          Balance Sheet
          at 30 September 2022



                                                            Note                            2022                     2021
                                                                                            $000                     $000
           Fixed assets

           Tangible assets                                      9                          3,666                     1,905
           Investments                                         JO                        166,375                  166,375
                                                                                         170,041                  168,280

           Current assets
           Cash at bank and in hand                                                        1,029                    2,257
           Debtors due in less than one year                   11                        618,157                  831,541
                                                                                         619,186                 833,7988

           Creditors: amounts falling due within one
                                                               12                      (594,212)                 (816,948)
           year

           Net current assets                                                             24,974                   16,850



           Net assets                                                                    195,015                  185,130


           Capital and reserves
           Called up share capital                             14                        130,520                  130,520
           Share premium                                                                  26,151                   26,151
           Profit and loss account                                                        38,344                   28,459


           Shareholders' funds                                                           195,015                  185,130




          These financial statements were approved by the board of directors and were signed on its behalf by:

          The notes on pages 13 to 24 form part of these financial statements.
         r-::OocuSlgned by:



         L~~B~~
         Kupen Lougee
          Director
                   28 June 2023
          Date:
          Company registered number: 02258593




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          Statement of Changes in Equity

                                                                    Called up       Share       Profit and    Total equity
                                                                        Share    Premium      loss account
                                                                       capital


                                                                         $000       $000            $000             $000

           At 26 September 2020                                       130,520      26,151          38,316         194,987
           Profit for the year                                                                     13,143           13,143
           Dividend paid                                                                         (23,000)        (23,000)
           Balance at 24 September 2021                               130,520      26,151          28,459         185,130
           Profit for the year                                                                     16,538           16,538
           Dividend paid                                                                          (6,653)          (6,653)
           Balance at 30 September 2022                               130,520      26,151          38,344         195,015




          The notes on pages 13 to 24 form part of these financial statements.




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          Notes To The Financial Statements at 30 September 2022
          1       Accounting policies
          Warner Music International Services Limited (the "Company") is a company limited by shares and incorporated and
          domiciled in the UK.
          The Company is exempt by virtue of s401 of the Companies Act 2006 from the requirement to prepare group financial
          statements. These financial statements present information about the Company as an individual undertaking and not
          about its group.
          These financial statements were prepared in accordance with Financial Reporting Standard 102 The Financial
          Reporting Standard applicable in the UK and Republic of Ireland ( "FRS 102 "). The presentation currency of these
          financial statements is US Dollar($). All amounts in the financial statements have been rounded to the nearest $1,000.
          The Company's ultimate parent undertaking includes the Company in its consolidated financial statements, and is
          considered to be a qualifying entity (for the purposes of this FRS) and has applied the exemptions available under
          FRS 102 in respect of the following disclosures:
              •    Reconciliation of the number of shares outstanding from the beginning to end of the period;
              •    Cash Flow Statement and related notes; and
              •    Key Management Personnel compensation.
          As the consolidated financial statements of the ultimate parent undertaking include the equivalent disclosures, the
          Company has also taken the exemptions under FRS I 02 avai table in respect of:
              •    The disclosures required by FRS I 02.11 Basic Financial Instruments in respect of financial instruments not
                   falling within the fair value accounting rules of Paragraph 36(4) of Schedule I.
          The Company proposes to continue to adopt the reduced disclosure framework of FRS I 02 in its next financial
          statements.
          Basis ofpreparatio11
          The financial statements are prepared under the historical cost convention.
          Fw1ctio11al Cu"e11cy
          The Company's functional currency is USD. All amounts in the financial statements have been rounded to the nearest
          $1,000, except when otherwise indicated.
          Accoulltillg period
          The Company prepared financial statements for either 52 or 53 week periods ending within one week of30 September,
          going forwards accounts will now continue to be prepared to 30 September each year.
          Goi11g co11cer11
          The financial statements have been prepared on a going concern basis which the Directors consider to be appropriate
          given the following considerations.
          Directors considered the operating nature of the entity, including the trading arrangements with affiliated entities and
          expectations for the future trading along with the outstanding inter-company payables and inter-company receivables
          for a period of 12 months from the date of approval of these financial statements which indicate that, taking account
          of reasonably possible downsides, the company will have sufficient funds through funding from its ultimate parent
          Warner Music Group Corp and repayment of outstanding balances from fellow subsidiaries to meet its liabilities as
          they fall due for that period.




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          Notes (continued)

                     Accounting policies (co11ti11ued)

          Goi11g co11cer11 (co11ti11ued)
          Those forecasts are dependent on Warner Music Group Corp. not seeking repayment of the amounts currently due to
          the group, at the date of the approval of these financial statements, providing additional financial support during that
          period, and continuing the existing, contracted trading arrangements across the Group. Warner Music Group Corp.
          has indicated its intention to continue to make available such funds as are needed by the company, and that it does not
          intend to seek repayment of the amounts due at the balance sheet date, for the period covered by the forecasts. The
          directors also have no reason to believe that trading arrangements with affiliated entities will materially change in the
          foreseeable future. As with any company placing reliance on other group entities for financial support, the directors
          acknowledge that there can be no certainty that this support will continue although, at the date of approval of these
          financial statements, they have no reason to believe that it will not do so.
          Consequently, the directors are confident that the company will have sufficient funds to continue to meet its liabilities
          as they fall due for at least 12 months from the date of approval of the financial statements and therefore have prepared
          the financial statements on a going concern basis.
          Related parties
          The Company has taken advantage of the exemption in FRS 102 not to disclose details of transactions between fellow
          wholly-owned group undertakings.
          Foreig11 curre11cy
          Transactions in foreign currencies are translated to the Company's functional currency at the foreign exchange rate
          ruling at the date of the transaction. Monetary assets and liabilities denominated in foreign currencies at the balance
          sheet date are retranslated to the functional currency at the foreign exchange rate ruling at that date. Non-monetary
          assets and liabilities that are measured in terms of historical cost in a foreign currency are translated using the exchange
          rate at the date of the transaction. Non-monetary assets and liabilities denominated in foreign currencies that are stated
          at fair value are retranslated to the functional currency at foreign exchange rates ruling at the dates the fair value was
          determined. Foreign exchange differences arising on translation are recognised in the profit and loss account.
          Reve11ue
          Revenue is recognised to the extent that it is probable that the economic benefits will flow to the Company and the
          revenue can be reliably measured. The following specific recognition criteria must also be met before revenue is
          recognised:

          Provision of Services: revenue is earned on provision of services pursuant to agreements held with worldwide affiliates
          and is recognised in the period that the relevant services are delivered.

          Royalty license and other income: revenue is recognised based on the contractual arrangements entered into with
          third parties, which allow them to exploit the Group's intellectual property in return for a fee. Where the Group is
          entitled to a fee which is not dependent upon future usage, revenue is recognised when the Group has fulfilled its
          contractual commitments. Where the fees due to the Group are dependent upon usage, revenue is recognised based
          upon that usage. Where no reliable basis is available for estimating such usage, revenue is recognised on a straight-
          line basis over the period of the contract terms, as reported to the Group by third parties.
          Basic ji11a11cial i11strume11ts
          Trade and other debtors I creditors
          Trade and other debtors are recognised initially at transaction price less attributable transaction costs. Trade and other
          creditors are recognised initially at transaction price plus attributable transaction costs.
          Investments in subsidiaries
          Investments in subsidiaries are carried at cost less impairment.




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          Notes (continued)
               1        Accounting policies (continued)
          Tangiblef,xed assets
          Tangible fixed assets are stated at cost less accumulated depreciation and accumulated impairment losses.
          Depreciation is charged to the profit and loss account on a straight-line basis over the estimated useful lives of each
          part ofan item of tangible fixed assets. The estimated useful lives are as follows:
          •   Leasehold improvements                     over the estimated useful life of the improvements
          •   Plant and Machinery                        over 3-5 years
          •   Furniture and equipment                    over 5 years
          •   Software Development                       over 3 years
          Depreciation methods, useful lives and residual values are reviewed if there is an indication of a significant change
          since last annual reporting date in the pattern by which the company expects to consume an asset's future economic
          benefits.
          Pensions
          A defined contribution plan is a post-employment benefit plan under which the company pays fixed contributions into
          a separate entity and will have no legal or constructive obligation to pay further amounts. Obligations for contributions
          to defined contribution pension plans are recognised as an expense in the profit and loss account in the periods during
          which services are rendered by employees.
          Interest receivable and Interest payable
          Interest payable and similar charges include interest payable, finance charges on shares classified as liabilities and
          finance leases recognised in profit or loss using the effective interest method, unwinding of the discount on provisions,
          and net foreign exchange losses that are recognised in the profit and loss account (see foreign currency accounting
          policy).
          Other interest receivable and similar income include interest receivable on funds invested and net foreign exchange
          gains.
          Interest income and interest payable are recognised in profit or loss as they accrue, using the effective interest method.
          Dividend income is recognised in the profit and loss account on the date the company's right to receive payments is
          established. Foreign currency gains and losses are reported on a net basis.
          Taxation
          Tax on the profit or loss for the year comprises current and deferred tax. Tax is recognised in the profit and loss
          account except to the extent that it relates to items recognised directly in equity or other comprehensive income, in
          which case it is recognised.directly in equity or other comprehensive income.
          Current tax is the expected tax payable or receivable on the taxable income or loss for the year, using tax rates enacted
          or substantively enacted at the balance sheet date, and any adjustment to tax payable in respect of previous years.
          Deferred tax is provided on timing differences which arise from the inclusion of income and expenses in tax
          assessments in periods different from those in which they are recognised in the financial statements.
          Deferred tax is measured at the tax rate that is expected to apply to the reversal of the related difference, using tax
          rates enacted or substantively enacted at the balance sheet date. Deferred tax balances are not discounted.
          Unrelieved tax losses and other deferred tax assets are recognised only to the extent that it is probable that they will
          be recovered against the reversal of deferred tax liabilities or other future taxable profits.




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          Notes (continued)
          2          Turnover
          Turnover represents the amounts derived from the provision of services, royalties receivable and fees for other services
          and is stated net of value added tax.


          Sales by destination were as follows:
                                                                                                   2022                   2021
                                                                                                   $000                   $000


              United Kingdom                                                                      4,025                   3,354
              Rest of the World                                                               1,517,689              1,357,989


              Total turnover                                                                  1,521,714              1,361,343



              Sales by type were as follows:
                                                                                                   2022                   2021
                                                                                                   $000                   $000

              Provision of Services                                                              19,779                  17,802
              Royalties                                                                       1,501,935              1,343,541

              Total Turnover                                                                  1,521,714              1,361,343



          3          Operating Profit
          This is stated after charging/(crediting):


                                                                                                 2022                   2021
                                                                                                 $000                   $000


              Auditor remuneration - Audit of these financial statements                           207                    191
              Depreciation of tangible fixed assets (note 9)                                     1,136                  1,876




                                                                                                                                  16
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          Notes (continued)
          4          Staff numbers and costs


                                                                                                   2022                         2021
                                                                                                   $000                         $000

              Wages and salaries                                                                 45,177                       39,742
              Social Security costs                                                               6,997                        6,923
              Other pension costs                                                                 1,824                        1,401


              Total Staff Costs                                                                  53,998                       48,066

              The average number of persons employed by the Company (including directors) during the year, was as follows:




                                                                                                                                2021
                                                                                                   2022

              Number of employees
                                                                                                    342                          239



          5          Directors' remuneration
                                                                                                    2022                             2021
                                                                                                    $000                             $000

              Directors' emoluments


              Emoluments relating to two directors are disclosed in the accounts of the parent company, WMG Acquisition (UK)
              Ltd. As they provide services to WMG Acquisition (UK) Ltd and multiple subsidiary companies, the group does not
              consider that there is a practicable method to apportion these emoluments. The other Directors do not perform qualifying
              services and therefore no emoluments are disclosed in relation to these Directors.




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          Notes (continued)

          6          Interest receivable and similar income
                                                                                                             2022          2021
                                                                                                             $000          $000

              Intercompany interest receivable                                                          10,140             9,600
              Other interest receivable                                                                    127
                                                                                                        10,267             9,600


          7          Interest payable and similar expenses
                                                                                                          2022             2021
                                                                                                          $000             $000

              Intercompany interest payable                                                                  432            290
              Other interest payable                                                                                        365
                                                                                                             432            655


          8          Taxation


              a. Total tax expense recognised in the profit and loss account
                                                                                                     2022                  2021
                                                                                                     $000                  $000
              Current tax
                UK corporation tax on income for the period                                          4,041                 2,974
                Adjustments in respect of prior periods                                                801                   315
                Overseas tax suffered                                                                5,906                 5,455
                Foreign tax relief/other relief                                                      (742)
              Total current tax                                                                     10,006                 6,631


              Deferred tax
                Origination/reversal of timing differences                                             588                   127
                Impact of change in tax rate                                                           124                 (482)
                Adjustment in respect of prior years
              Total deferred tax                                                                       712                 (355)


              Total tax                                                                             10,718                 8,389


          The full tax charge for the year is recognised in the Profit and Loss account.




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          Notes (continued)
          8           Taxation (continued)


          b. Reconciliation of tax charge


              The standard rate of current tax for the year based on the UK standard rate of corporation tax is 19% (2021:
              19%). The tax charge for the year differs from the standard rate for the reasons in the reconciliation below: •
                                                                                                          2022                  2021
                                                                                                          $000                  $000


              Profit before tax for the year                                                            27,256             21,532


              Profit multiplied by the standard rate of tax in the UK of 19% (2021: 19%)                  5,179             4,091


              Factors affecting charge:
                      Expenses not deductible for tax purposes                                               29                   73
                      Non taxable income                                                                  (165)                  (26)
                      Change in tax rate on deferred tax balances                                           124                 (482)
                      Effect of tax rates in foreign jurisdictions                                        4,750             4,418
                      Adjustment to tax charge.in respect of previous periods                               801                  315
              Total tax expense included in profit                                                       10,718             6,343


           c. Tax rate changes


          An increase in the UK corporation tax rate from 19% to 25% (effective 1 April 2023) was substantively enacted on
          24 May 2021, the UK deferred tax asset as at 30 September 2022 has been calculated based on this rate. This will
          also have a consequential effect on the company's future tax charge.




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          Notes (continued)
          9        Tangible fixed assets
                                                                                   Plant
                                                                            Machinery,
                                                                Leasehold   Furniture &       Software
                                                             improvements    Equipment     development        Total
                                                                  $000           $000           $000          $000
           Cost
           Balance at 24 September 2021                          4,663           1,428        38,053         44,144
           Additions                                                                           2,897          2,897


           Balance at 30 September 2022                          4,663           1,428        40,950         47,041


           Depreciation
           Balance at 24 September 2021                         (4,663)        (1,345)       (36,231)      (42,239)
           Depreciation charge for the year                                                   (1,136)       (1,136)


           Balance at 30 September 2022                         (4,663)        (1,345)       (37,367)      (43,375)


           Net book value
           At 24 September 2021                                                     83         1,822          1,905


           At 30 September 2022                                                     83         3,583          3,666




                                                                                                                 20
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          Notes (continued)

          IO       Fixed asset investments
                                                                                                        2022             2021
                                                                                                        $000             $000

           At beginning of year                                                                     166,375            166,375

           At end of year
                                                                                                    166,375            166,375


          Details of the investments in which the company holds at least 20% of the nominal value of any class of share capital
          are as follows:
          Subsidiary u11dertakings
                                                                                       Proportio11 of
                                                         Country of                     voting rights     Nature of
          Name of compa11y                              registratio11       Holdi11g a11d shares held      busilless

          Warner Music UK Limited                      England and         Ordinary             100%        Record
                                                            Wales            shares                       Company

          WMIS Limited                                 England and         Ordinary             100%        Service
                                                             Wales                                        Company

          Magnet Records Limited*                      England and         Ordinary                          Record
                                                            Wales            shares             100%       company

          Anxious Records Limited*                     England and       "A"&"B"
                                                            Wales         Ordinary              100%       Dormant
                                                                            shares

          China Records Limited*                       England and       "A"&"B"
                                                             Wales        Ordinary                           Record
                                                                            shares              100%       company

          679 Recordings Limited*                      England and       "A"&"B"
                                                            Wales         Ordinary                           Record
                                                                            shares              100%       company

          1967 Limited*                                England and         Ordinary                          Record
                                                             Wales           shares             100%       company

          Elmlowe Limited*                             England and       "A"&"B"
                                                             Wales        Ordinary                           Record
                                                                            shares              100%       company

          ADA Global Limited*                          England and         Ordinary
                                                            Wales            shares             100%       Dormant

          Taffia International Limited*                England and         Ordinary                          Record
                                                            Wales            shares            50.1%       company

          A+E Records Limited*                         England and         Ordinary                          Record
                                                            Wales            shares             100%       company

          Comedy Box Limited*                          England and         Ordinary

                                                                                                                            21
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                                                              Wales           shares            100%       Dormant

          B Unique Records Limited*                     England and        Ordinary                          Record
                                                              Wales          shares             100%       company

          FFRR Records Limited*                         England and        Ordinary                          Record
                                                             Wales           shares             100%       company

          Infectious Records Limited*                   England and        Ordinary                          Record
                                                              Wales          shares             100%       company

          Funghi Records Limited*                       England and        Ordinary
                                                              Wales          shares             100%       Dormant

          Laurel Records Limited*                       England and        Ordinary                          Record
                                                              Wales          shares             100%       company

          Sharemyplaylists.com Limited*                 England and        Ordinary
                                                              Wales          shares             100%       Dormant

          Radar Scope Limited                           England and        Ordinary                          Record
                                                              Wales          shares             100%       company

          SK Acquisition Ltd                            England and        Ordinary                          Record
                                                              Wales          shares             100%       company

          Warner Music Ireland Limited*%                     Ireland       Ordinary                          Record
                                                                             shares             100%       company

          Warner Music (Northern Ireland) Ltd*- Northern Ireland           Ordinary                          Record
                                                                             shares             100%       company

          First Night Records Limited*                  England and        Ordinary                          Record
                                                              Wales          shares             100%       company

          Exallshow Limited*                            England and        Ordinary                          Record
                                                             Wales           shares             100%       company

          Film27 Limited*                               England and        Ordinary                          Record
                                                             Wales           shares             100%       company

          Gingerbread Man Records Limited*              England and        Ordinary                          Record
                                                              Wales          shares              50%       company

          *Held by a subsidiary undertaking.

          All of the investments are in unlisted companies with a registered address of Cannon Place, 78 Cannon Street, London,
          EC4N 6AF. With the exception of: - Warner Music (Northern Ireland) Limited with a registered address of Gordon
          Street Mews, 27-29 Gordon Street, Belfast, BT! 2JL and% Warner Music Ireland Limited with a registered address
          of Riverside One, Sir John Rogerson's Quay Dublin, 2, Ireland.




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          Notes (continued)
          11       Debtors due in less than one year
                                                                                       2022                  2021
                                                                                       $000                  $000

           Amounts owed by group undertakings                                       471,874               683,909
           Trade debtors                                                            136,409               135,915
           Other debtors                                                              7,355                  2,429
           Deferred tax assets                                                        1,676                  2,388
           Prepayments and accrued income                                               843                    818
           Group relief receivable                                                                           6,082
                                                                                    618,157               831,541



          12       Creditors due in less than one year
                                                                                       2022                  2021
                                                                                       $000                  $000

           Trade creditors                                                            1,277                 1,235
           Amounts owed to group undertakings                                       305,606               545,386
           Group relief payable                                                                             2,762
           Taxation and social security                                               4,819                10,161
           Corporation tax                                                            6,022                 6,414
           Accruals and other creditors                                             276,488               250,990
                                                                                    594,212               816,947




          13       Deferred tax assets and liabilities


                                                                                     Deferred
                                                                                          tax
                                                                                         $000
           At beginning of year                                                         2,388
           Credit to the profit and loss for the year                                   (712)

           At end of year                                                                1,676


           Deferred tax assets are attributable to the following:
                                                                                         2022              2021
                                                                                         $_000             $000
           Difference between accumulated depreciation and capital allowances            1,260            2,152
           Other timing differences                                                        416              236
                                                                                         1,676            2,388


          There are no unused tax losses or unused tax credits.




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          Notes (continued)


          14       Capital and reserves
          Share capital

                                                                                                          $
          Allotted, called up a11dfu/ly paid
          Ordinary shares of£ l each at 24 September 2021. and 30 September 2022              130,520,005
          Share capital - represents the nominal value of shares that have been issued.



          15       Defined contribution plans

          The company operates a defined contribution scheme, the Warner Music pension scheme, for its directors and
          employees. The assets of the scheme are held separately from those of the company, in an independently administered
          fund. The unpaid contributions outstanding at year end included in other Creditors are $255k (2021: $296k).


          16       Ultimate parent company and parent company of larger group

          On 30 September 2022 the company was 100% owned by WMG Global Ventures Limited.

          On 30 September 2022 AI Entertainment Holdings LLC a company incorporated in Delaware in the United States of
          America, was the ultimate parent undertaking. Warner Music Group Corp. was the parent undertaking of the
          smallest and largest group of undertakings of which the company was a member and for which group financial
          statements are drawn up. Copies of Warner Music Group Corp.'s financial statements can be obtained from 1209
          Orange Street, Wilmington, DE 19801, USA.


          17       Post Balance Sheet Events

          There have been no significant post balance sheet events which require adjustment to or a disclosure thereon in these
          financial statements.




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